               IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       GREENSBORO DIVISION

JOHN F. HARMAN, III,                  )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )      CASE NUMBER: __________
                                      )
THE PRUDENTIAL LIFE                   )
INSURANCE COMPANY OF                  )
AMERICA,                              )
                                      )
      Defendant.                      )

                                  COMPLAINT
      Comes now the Plaintiff, John F. Harman, III, and hereby files his

Complaint against The Prudential Insurance Company of America.

                                    PARTIES

      1.    The Plaintiff, John F. Harman, III (“Mr. Harman”), is an insured

under ERISA-governed Long-Term Disability Policy No. G-42111-NV (the

“Plan”) who has been improperly denied disability benefits under the Plan.

      2.     Defendant, The Prudential Insurance Company of America

(“Prudential”) is the Administrator for the Plan issued to Caesar’s Entertainment

Operation Co., Inc. Defendant has improperly denied owed benefits to Mr. Harman

under the group Long Term Disability Policy No. G-42111-NV. Upon information

and belief, Prudential is a foreign corporation doing business in the State of North




     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 1 of 28
Carolina.

                         JURISDICTION AND VENUE

      3.    This action arises under the Employee Retirement Income Security

Act of 1974 (“ERISA”), 29 U.S.C. §1001, et seq. Plaintiff asserts claims for long-

term disability benefits, enforcement of ERISA rights, and statutory violations of

ERISA under 29 U.S.C. §1132. This Court has subject matter jurisdiction under

ERISA without respect to the amount in controversy or the citizenship of the

parties. 29 U.S.C. §1132(a),(e)(1) and (f) and 28 U.S.C. §1131. Venue is proper

in this district pursuant to 29 U.S.C. §1132(e)(2) and 28 U.S.C. §1391(b).

                               INTRODUCTION

      4.    The traditionally held purpose of the ERISA statute is “to promote the

interest of employees and their beneficiaries in employee benefit plans.” Shaw v.

Delta Airlines, Inc., 463 U.S. 85, 90 (1983). Mr. Harman, as an employee insured

for disability, was supposed to be treated as a beneficiary by the Defendant as

statutory fiduciary. Instead, the Defendant victimized Mr. Harman by engaging in

utterly reprehensible claim handling procedures. The shortcomings of ERISA as it

relates to claims for “welfare” benefits have been exploited by the Defendant to

avoid paying Mr. Harman’s valid claim that would otherwise be payable under

state insurance law. As described in more detail below, the Defendant has clearly

engaged in bad faith claim handling and Mr. Harman, at a minimum, is patently


                                         2
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 2 of 28
entitled all relief that ERISA provides.

                            STATEMENT OF FACTS

      5.     Mr. Harman is an insured under Prudential’s Group Policy No. G-

42111-NV sponsored by his employer Caesars Entertainment Group Co., Inc. The

insurance provides insureds, like Mr. Harman, long term disability benefits.

      6.     Mr. Harman was born on May 25, 1956. He worked at Caesars

Entertainment Group Co., Inc. as a Table Game Dealer until his disabilities,

primarily from hepatitis C and side effects from a liver transplant, prevented him

from returning to work.

      7.     Mr. Harman’s medical impairments include a multitude of symptoms

arising from hepatitis C and liver transplant surgery, including severe chronic

fatigue, hypertension, lower extremity edema, cellulitis, chronic pain, memory

loss, depression, confusion, neuropathy, skin cancers, and other illnesses. All of

these conditions and symptoms render Mr. Harman unable to work.

      8.     Mr. Harman first learned of his liver disease in 2004 by Dr. Christin

Legeate, his primary physician. (See June 22, 2007 Consultation, attached hereto as

Exhibit “A”). Because he was asymptomatic and had normal liver function at the

time, Mr. Harman elected to defer from any type of treatment. (See Exhibit “A”).

      9. Three years later in 2007, Mr. Harman began experiencing symptoms

such as “ascites, memory loss, fatigue, weakness, muscle wasting, joint pain,


                                           3
 


      Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 3 of 28
itching and rashes.” (See Exhibit “A”).

        10.   Dr. Legeate discovered rising ALT numbers in Mr. Harman’s

bloodwork and referred him to a gastroenterologist, Dr. Mohammed Shafi. (See

Exhibit “A”). Dr. Shafi then performed an endoscopy and colonoscopy. (See Quest

Diagnostics, attached hereto as Exhibit “B”).

        11.   After obtaining results from both procedures, Dr. Shafi devastatingly

discovered that Mr. Harman had cirrhosis of the liver and stage IV liver failure.

(See Exhibit “B”).

        12.   In a consultation report dated June 22, 2007, Joanne Garcia, APN-C

met with Mr. Harman and advised him of his condition. During this consultation it

was also noted that Mr. Harman appeared to be “chronically ill.” (See Exhibit

“A”).

        13.   After his diagnosis, Mr. Harman could no longer perform his duties as

required by Caesars Entertainment as a Table Game Dealer, which required

standing for long periods of time, lifting chairs, and remaining attentive while

watching players (See Paris/Bally’s Las Vegas Job Description, attached hereto as

Exhibit “C”).

        14.   His chronic pain and fatigue disabled him from the ability to stand for

long periods of time, and his memory loss disabled him from using proper

judgment and concentration amongst distractions.


                                          4
 


        Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 4 of 28
      15.    Mr. Harman left work on July 8, 2007 to undergo extensive treatments

for liver failure. (See Email to Darleen Bucaro, attached hereto as Exhibit “D”).

      16.    After several immunotherapy treatments, Mr. Harman met with Ms.

Garcia, APN-C again during a follow-up appointment on September 19, 2007. (See

September 19, 2007 Clinic Notes, attached hereto as Exhibit “E”).

      17.    Despite ongoing treatments, Mr. Harman was still suffering from

chronic fatigue, insomnia, memory loss, confusion, and experienced difficulty

staying awake throughout the day. Ms. Garcia, APN-C also noted that he exhibited

“intermittent myalgias [muscle pain],” “depression,” “swelling,” and “shortness of

breath.” (See Exhibit “E”).

      18.    This follow-up appointment lead to a discussion of the imminent need

for liver transplant surgery. Ms. Garcia, APN-C wrote to Dr. Shafi that they would

register him for a liver transplant. (See Exhibit “E”).

      19.    While waiting for an organ donor, Mr. Harman continued to suffer

through anxiety, confusion, and difficulty concentrating, as explained in his clinic

notes from another follow-up treatment on November 12, 2007. (See November

12, 2007 Clinic Notes, attached hereto as Exhibit “F”).

      20.    Because of his increased depression, confusion, and inability to make

decisions for himself, Mr. Harman consulted his sister, Ms. Susan Harman-Scott,

Esq., who he temporarily appointed as power of attorney in handling his affairs.


                                           5
 


      Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 5 of 28
(See General Power of Attorney, attached hereto as Exhibit “G”).

      21.      On May 24, 2008, Mr. Harman was approved for Social Security

Disability benefits on initial application. (See May 24, 2008 Notice of Award,

attached hereto as Exhibit “H”).

      22.      Mr. Harman continued exhaustive treatments for liver failure while

desperately awaiting a liver donation. During that time, Mr. Harman moved to

North Carolina, where he was taken care of by his sister.

      23. On September 17, 2008, Mr. Harman underwent liver transplant surgery,

performed by Dr. David Gerber at the University of North Carolina Hospital in

Chapel Hill.

      24.      Prudential approved Mr. Harman for long-term disability benefits on

December 23, 2008 due to his inability to perform his regular occupation as a

Table Game Dealer. (See December 23, 2008 Letter from Prudential, attached

hereto as Exhibit “I”).

      25.      After Mr. Harman’s liver transplant, Prudential required Mr. Harman

to complete multiple forms regarding his activities and daily living. (See Letters

from Prudential, attached hereto as Exhibit “J”).

      26.      Mr. Harman consistently stated that he remained extremely fatigued,

dizzy, and unable to maintain focus. (See Activities of Daily Living Questionnaire,

attached hereto as Exhibit “K”).


                                         6
 


      Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 6 of 28
        27.   Prudential also required Mr. Harman’s primary physician, Dr. Terry

Arnold, to complete capacity questionnaire forms regarding whether Mr. Harman

could return to part-time or full-time work. Dr. Arnold stated that Mr. Harman

would never be able to return to full-time work, nor was he currently able to return

to work in any capacity. (See Capacity Questionnaire, attached hereto as Exhibit

“L”).

        28. Dr. Arnold also completed an Attending Physician Statement and stated

that Mr. Harman’s inability to return to work was due to excessive fatigue and

weakness. (See Attending Physician Statement, attached hereto as Exhibit “M”).

        29.   On November 11, 2016, Prudential informed Mr. Harman that on

October 31 he would no longer meet the definition of disability and therefore his

claim was closed. (See November 11, 2016 Letter from Prudential, attached hereto

as Exhibit “N”).

        30.   Prudential justified this denial of benefits mainly based off the absurd

assumption that his severe fatigue, depression, and joint pain are not indicative of

“functional impairment.” (See Exhibit “N”).

        31.   Prudential also based their denial on Mr. Harman’s ability to obtain a

part-time online college degree and his very sporadic part-time work as a Director

of Contemporary Worship for his church. (See Exhibit “N”).

        32.   Not only did Prudential completely ignore Dr. Arnold’s assertion that


                                          7
 


        Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 7 of 28
Mr. Harman could not work in any capacity, but also ignored Mr. Harman’s other

conditions such as his chronic joint pain, neuropathy, and the multitude of other

symptoms from a severely suppressed immune system. Prudential acknowledged

the fact that Dr. Arnold stated that Mr. Harman could not work in any capacity, but

then simply decided to not give any weight to the determination of Mr. Harman’s

treating physician. (See Exhibit “N”).

      33.    Mr. Harman appealed Prudential’s termination of benefits by letter

dated May 10, 2017. (See May 10, 2017 Letter to Prudential, attached hereto as

Exhibit “O”).

      34.    Despite being provided with extensive medical records showing Mr.

Harman’s continuing chronic pain, fatigue, neuropathy, swelling, and other

debilitating side effects from his necessary medications, Prudential denied Mr.

Harman’s appeal on August 24, 2017. (See August 24, 2017 Denial Letter,

attached hereto as Exhibit “P”).

      35.    Prudential exclusively relied on the determination made by a paid

medical reviewer, who never examined Mr. Harman. (See Advisory Report,

attached hereto as Exhibit “Q”).

      36.    The paid reviewing consultant determined that despite all of Mr.

Harman’s struggles, he had no medically necessary restrictions or limitations

beyond 2015 when he stopped his Harvoni medication. (See Exhibit “Q”).


                                         8
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 8 of 28
      37.   With full knowledge that Mr. Harman suffered from an extremely

debilitating form of hepatitis C and would almost certainly have continued

symptoms from his liver transplant surgery, Prudential absurdly suggested that Mr.

Harman could return to full-time employment. (See Exhibit “Q”).

      38.   Mr. Harman continues to suffer a multitude of post-transplant

problems and side effects from hepatitis C. (See Declaration of Harman, attached

hereto as Exhibit “R”).

      39.   Mr. Harman’s post-transplant immunosuppressant medications leave

him much more susceptible to illnesses, making it very difficult for him to be in

public places. (See Exhibit “R”). For example, in 2015, Mr. Harman was treated

three different times for congestion, sore throat and other flu-like symptoms all

within only three months’ time. (See Exhibit “S” September 14, 2015 Clinic Notes;

Exhibit “T” November 12, 2015 Clinic Notes; Exhibit “U” December 21, 2015

Clinic Notes).

      40.   Mr. Harman also suffers from neuropathy in his right hand, which

prohibits him from performing simple daily tasks such as dressing himself, turning

on lamps, and using utensils. (See Exhibit “R”).

      41.   Mr. Harman suffers from chronic joint pain due to inflammation,

which has not improved since beginning treatment. (See Exhibit “R”).

      42.   Mr. Harman continues to suffer from extreme fatigue, insomnia, and


                                         9
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 9 of 28
depression following Harvoni treatments for hepatitis C. For over two years and in

each follow-up appointment both before and after Harvoni treatment, Mr. Harman

consistently raised complaints of severe fatigue, and on May 15, 2017, complained

that he in fact felt worse and more fatigued since completing treatment. (See May

15, 2017 Clinic notes, attached hereto as Exhibit “V”).

      43.   In addition, on January 15, 2018, Dr. Arnold noted that Mr. Harman

was “sallow-appearing” and “chronically ill-appearing.” (See Annual Wellness

Visit, attached hereto as Exhibit “W”).

      44. In light of the fact that Mr. Harman still suffers from severe, chronic

fatigue, joint pain, inflammation, and a multitude of other symptoms from an

impaired immune system prior to Prudential’s final denial, Mr. Harman submitted

a second appeal on February 20, 2018. (See February 20, 2018 Letter to Prudential

(without attachments), attached hereto as Exhibit “X”).

      45. Prudential delivered its final denial on March 26, 2018. (See March 26,

2018 Letter from Prudential, attached hereto as Exhibit “Y”). Once again,

Prudential ignored the opinions of Mr. Harman’s treating physicians and wrongly

asserted that Dr. Arnold’s opinions and statements were not supported by evidence.

      46. As of this date Mr. Harman has been denied benefits rightfully owed to

him under the plan. Prudential’s decision to deny LTD benefits under the plan was

grossly wrong, without basis and contrary to the evidence.


                                          10
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 10 of 28
       47.    Mr. Harman met and continues to meet the plan’s definition of

“disabled.”

       48.    The Defendant did not establish and maintain a reasonable claim

procedure or provide a full and fair review of Mr. Harman’s claim as required by

ERISA. Instead, Defendant acted only in its own pecuniary interests and violated

ERISA by conduct including, but not limited to, the following: reviewing the claim

in a manner calculated to reach the desired result of denying benefits; failing to

properly consider and credit the medical opinions of Mr. Harman’s medical

providers; failing to properly consider and credit the SSA’s determination, and

failing to have Mr. Harman submit to independent medical exams as allowed by

the Plan.

       49.    Upon information and belief, the Plan does not grant discretionary

authority to determine eligibility for benefits to Prudential or to any other entity

who may have adjudicated Mr. Harman’s claim. Therefore, the Court should

review the Plaintiff’s claim for benefits under a de novo standard. Firestone Tire

and Rubber Co. v. Bruch, 489 U.S. 101, 115 (1989). In the alternative, the denial

of Plaintiff’s benefits constitutes an abuse of discretion.

       50.    Upon information and belief, Prudential was required to both evaluate

and pay claims under the LTD Plan at issue, creating an inherent conflict of

interest.


                                           11
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 11 of 28
      51.   Mr. Harman has exhausted any applicable administrative review

procedures, and Prudential’s refusal to pay benefits is both erroneous and

unreasonable and has caused tremendous financial hardship on Plaintiff.

    DEFENDANT’S WRONGFUL AND UNREASONABLE CONDUCT

      A.    Defendant’s Determination that Plaintiff does not Meet the
            Definition of Disability as Stated in the Plan was both Erroneous
            and Unreasonable.

      52.   The Long Term Disability plan at issue states, in part:

      After 24 months of payments, you are disabled when Prudential
      determines that due to the same sickness or injury:

               ● You are unable to perform the duties of any gainful occupation
                 for which you are reasonably fitted by education, training, or
                 experience; and  
               ● You are under the regular care of a doctor.  

(See Prudential LTD Policy, attached hereto as Exhibit “Z”).

      53.   Prudential failed to properly evaluate the effect Mr. Harman’s

conditions as a whole would have on his ability to work. As shown by its denial

letters, Prudential has consistently cherry-picked notes of miniscule improvement

from Mr. Harman’s extensive medical records in order to wrongfully deny his

claim on the grounds that he can work fulltime.

      54.   Prudential highlight the fact that Mr. Harman’s lab results improved

after completion of Harvoni treatment, but they completely ignore his primary

physician’s opinion that he remain disabled from all work, or the fact that he is


                                        12
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 12 of 28
continuously prescribed immunosuppressants and continues to suffer from constant

chronic pain and fatigue.

      55.    Mr. Harman was never cured or informed that he would not require

treatment again.

      56.    Prudential opportunistically denied Mr. Harman the benefits due to

him when his side effects were lessened for a brief period of time.

      57.    Worst of all, when shown clear evidence that Mr. Harman was more

fatigued after Harvoni treatments prior to rendering their final denial, Prudential

refused to properly consider the impact of his fatigue on his ability to work.

      58.    Mr. Harman’s necessary treatments have left him with chronic joint

pain, depression, muscle weakness, extreme chronic fatigue, and a multitude of

illnesses that accompany immunosuppressant medications.

      59.    Mr. Harman struggles with these debilitating symptoms every single

day. Prudential’s assertion that he is not disabled is at the very least unreasonable.

      B.     Defendant’s Decision to Terminate Long Term Disability Benefits
             was not Supported by Substantial Evidence

      60.    In its consideration of Mr. Harman’s claim, Prudential only retained

paid consultants to review his medical records. The sole reason for Prudential’s

denial was that their paid paper reviewer, who never actually examined Mr.

Harman, determined that he suffered from no restrictions and limitations.

      61.    Considering the nature of his disease, and his well-documented
                                          13
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 13 of 28
struggles with treatment, the notion that he is not restricted from work is absurd.

Based on the language of the policy and common-sense practice, Prudential could

have requested an independent medical examination of Mr. Harman. Instead, they

determined that an in-house vocational analysis and paid paper review were

superior to years of treatment records and recommendations from Mr. Harman’s

actual treating physicians.

      62.    Mr. Harman’s medical files clearly demonstrate that he is disabled.

Mr. Harman’s treating physicians have attested to his disabilities on multiple

occasions. Prudential was provided with Dr. Arnold’s numerous capacity reports

that consistently stated Mr. Harman would be disabled indefinitely. Prudential also

had access to the Social Security Administration’s determination of disability, as

well as records from Dr. Arnold clearly documenting Mr. Harman’s constant

struggle with chronic joint pain and fatigue.

      63.    The records of Mr. Harman’s long-standing medical providers, who

have no stake in the outcome of the case, clearly evidence that he is disabled based

on their numerous personal examinations, testing, and procedures. Prudential’s

hired medical reviewers, on the other hand, did not examine Mr. Harman. The

conclusion that Mr. Harman was not disabled was based merely on hired

reviewers’ assessment of his paper medical records. See Hoover v. Provident Life

and Accident Ins. Co., 290 F.3d 801,809 (6th Cir. 2002)(finding that evidence in


                                         14
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 14 of 28
the administrative record did not support the revocation of benefits because the

only doctors that disagreed with the treating physicians were non-examining

consultants hired by the insurance company); see also Kalish v. Liberty Mutual,

419 F.3d 501, 508 (6th Cir. 2005)(“[w]hether a doctor has physically examined the

claimant is indeed one factor that we may consider in determining whether a plan

administrator acted arbitrarily and capriciously in giving greater weight to the

opinion of its consulting physician”).

      64.    In weighing the opinions of Mr. Harman’s providers against those of

the independent reviewers retained by Prudential, the Court should consider the

following factors: (i) the frequency of examination and the length, nature, and

extent of the treatment relationship; (ii) the evidence in support of the opinion; (iii)

the opinion's consistency with the record as a whole; (iv) other relevant factors. See

Karanda v. Connecticut Gen. Life Ins. Co., et al., 158 F. Supp. 2d 192, 205 and n.8

(D. Conn. 2000) (citing Durr v. Metropolitan Life Ins. Co., 15 F. Supp. 2d 205,

213 (D. Conn. 1998)). The Court in Black & Decker Disability Plan v. Nord, 538

U.S. 822, 832, 123 S. Ct. 1965, 155 L. Ed. 2d 1034 (2003) recognized that

"treating physicians, as a rule, have a greater opportunity than consultants to know

and observe the patient as an individual." While Nord provides that this Court is

not required to adopt a per se rule to treat Mrs. Miller’s physicians' opinions with

more weight than those of Defendant’s medical assessors, "[c]ommon sense and a


                                          15
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 15 of 28
stream of legal precedent suggest, however, factual determinations of a treating

physician are objectively more reliable." Burt v. Metropolitan Life Insurance Co.,

No. 1:04-CV-2376-BBM, 2005 U.S. Dist. LEXIS 22810, at *33 (N.D. Ga. Sept.

16, 2005); see also Finazzi v. Paul Revere Life Ins. Co., 327 F.Supp.2d 790, 795-

96 (W.D. Mich. 2004) (“the Court is not obliged to ‘rubber stamp’ [defendant’s]

termination of benefits . . .”).

       65. Paid experts are more often than not pre-disposed or preconditioned.

Courts have consistently expressed their skepticism of such “experts” and held

their reviews to be the very essence of arbitrariness and capriciousness. Bennett v.

Kemper HAT-Svcs, Inc. 514 F. 3d 547, 554-55 (6th Cir. 2008); Montour v. Hartford

Life and Acc. Ins. Co., 588 F. 3d 623 (9th Cir. 2009); Regula v. Delta Family Care

Plan 226 F.3d. 1130, 1143 (9th Cir. 2001). The Supreme Court has acknowledged

that “physicians repeatedly retained by benefits plans may have an ‘incentive to

make a finding of “not disabled” in order to save their employers money and

preserve their own consulting agreements.’” Nord, 538 U.S. 822, 832, 123 S. Ct.

1965, 155 L. Ed. 2d 1034 (2003). The fact that their reports are consistently in

conflict with the opinion of treating doctors’ determinations should be viewed as

evidence of a structurally conflicted process that results in bias. Clearly, in Mr.

Harman’s case, these decisions indicate that his own medical physicians’

evaluations should be afforded far greater weight than those of Defendant,


                                        16
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 16 of 28
especially since Defendant’s reviewers never bothered with even one of the

multiple physical exams allowed by the Plan. (See Exhibit “Z”). Accordingly,

Defendant’s denial of Mr. Harman’s LTD benefits, based on insufficient evidence,

was arbitrary and capricious.

      C.     Defendant’s Failure to Properly Credit Mr. Harman’s Well
             Documented Complaints of Chronic Fatigue and Chronic Joint
             Pain was Arbitrary and Capricious

      66.    Some of Mr. Harman’s primary disabling impairments have

subjective components; however, they have been diagnosed by his treating

physicians based on his medical history, physical examinations, and observation.

In its denial letters, Prudential made no mention of how Mr. Harman’s chronic pain

and fatigue from his necessary medical treatments would affect his ability to

perform work, nor is there any evidence in the records that Prudential even

considered Mr. Harman’s susceptibility to illnesses from immunosuppressant

medications in deciding whether or not to terminate his benefits.

      67.    In Quigley v. UNUM Life Ins. Co. of America, 340 F. Supp. 2d 215,

224 (D.Conn. 2004), the Court held “[w]here the record reveals well-documented

complaints of chronic pain, and there is no evidence in the record to contradict the

claimant’s complaints, the claim administrator, and the court, cannot discredit the

claimant’s subjective complaints. Id. at 224.




                                         17
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 17 of 28
      68. In Creel v. Wachovia Corp., No. 08-10961, 2009 U.S. App. LEXIS

1733, 2009 WL 179584 (11th Cir. Jan. 27, 2009) and Oliver v. Coca-Cola Co., 497

F.3d 1181, 1196-97 (11th Cir. 2007), vacated in part on other grounds, 506 F.3d

1316 (11th Cir. 2007), the United States Court of Appeals for the Eleventh Circuit

considered when it was substantively reasonable to deny benefits for disabilities

involving subjective elements. In Creel, the plaintiff applied for disability benefits

based on a diagnosis of depression, anxiety, and migraine headaches. She received

long-term disability benefits, but the benefits were terminated after twenty-four

months pursuant to a mental disorder limitation. She sued the insurance company

to recover additional benefits based on her migraine headaches. She provided chart

notes, standard diagnoses, and lab reports from multiple physicians to support her

claim, but the district court entered summary judgment against her because she did

not provide objective evidence. The Court of Appeals vacated the summary

judgment order, explaining:

            Our prior cases provide guidance for assessing the
      reasonableness of benefits denials for disabilities that involve some
      subjective element, such as migraines, fibromyalgia, and chronic pain
      syndrome. . . . When the plan has no [objective evidence
      requirement,] we evaluate the reasonableness of the decision in light
      of the sufficiency of the claimant’s subjective evidence and the
      administrator’s actions. Assuming that the claimant has put forward
      ample subjective evidence, we look at what efforts the administrator
      made to evaluate the veracity of her claim, particularly focusing on
      whether the administrator identified any objective evidence that would
      have proved the claim and on what kinds of independent physician
      evaluations it conducted. Accordingly, an administrator’s decision to
                                         18
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 18 of 28
      deny benefits would be unreasonable if it failed to identify what
      objective evidence the claimant could have or should have produced,
      even if the administrator submitted the file for peer review.

2009 U.S. App. LEXIS 1733, [WL] at *7

      69.   Applying this standard, the Court of Appeals in Creel found that the

records offered by the plaintiff to corroborate her subjective complaints of

disabling headaches were sufficient to support her claim and held that the

administrator's decision was both wrong and unreasonable. 2009 U.S. App. LEXIS

1733, [WL] at *8. Similarly, in Oliver, the plaintiff sued his employer to recover

long term disability benefits based upon radiculopathy and associated cervical

pain, fibromyalgia, and chronic pain syndrome. The Court of Appeals held that it

was arbitrary and capricious for an employer to deny benefits for disabilities

involving elements of subjective pain when the claimant provided ample evidence

and the administrator never requested any additional kind of evidence. Oliver, 497

F.3d at 1196-97.

      70.   Here, Mr. Harman provided evidence to support the claims of his

numerous medical impairments. Mr. Harman’s medical records contain well-

documented complaints of chronic pain and treatments prescribed by his treating

physicians. The records provided to Prudential show Mr. Harman’s long time

struggles with chronic fatigue, joint pain, as well as a host of other side effects

from his necessary medications. Prudential did not credit these well-documented


                                        19
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 19 of 28
complaints of chronic fatigue or the opinions of Mr. Harman’s treating physicians,

and instead unreasonably terminated his claim.

      D.     Prudential Failed to Properly Consider Mr. Harman’s Non-
             Exertional Limitations.

      71.    In Demiorovic v. Bldg. Serv. 32 B-J Pension Fund, 467 F.3d 208, 213-

14 (2d Cir. 2006), the Court stated “[A] reasonable interpretation of a claimant’s

entitlement to payments based on a claim of ‘total disability’ must consider the

claimant’s ability to pursue gainful employment in light of all the circumstances.”

Thus, an administrator must consider whether a beneficiary has “the vocational

capacity to perform any type of work. . . that actually exists in the national

economy.” Id. at 213-215.

      72.    The Court must also consider non-exertional limitations including (1)

intellectual and psychological limitations, including those related to the side effects

of prescription medications and pain; (2) limited manual dexterity; and (3) a

limited ability to remain seated for an extended period of time. Such non-exertional

limitations can be important aspects of vocational capacity. See Rabuck v. Hartford

Life and Accident Ins. Co., 522 F. Supp. 2d 844, 876-77 (W.D. Mich. 2007)

(holding that failure to consider non-strength limitations of former company

president with short-term memory limitations rendered Transferable Skills

Analysis "incredible").



                                          20
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 20 of 28
      73.    It has been documented multiple times in Mr. Harman’s medical

records that he suffers from the side effects of his necessary medications and

treatment. Mr. Harman’s immunotherapy treatments have caused increased

suppression in his immune system, and Dr. Arnold noted that it had caused

“ongoing symptoms of fatigue.” (See Exhibit “W”).

      74.    Mr. Harman’s inability to sit for an extended period of time has been

shown to be limited at best by Dr. Arnold’s capacity reports. Perhaps most

importantly, Mr. Harman has been fighting an extremely debilitating disease for

years and continues to suffer its exhausting and damaging side effects.

      E.     Prudential Failed to Justify Taking a Position Different from the
             Social Security Administration on the Question of Disability

      75.   Prudential failed to discuss any substantive reasons for reaching a

decision contrary to that of the SSA.

      76.    In stark contrast to Prudential’s findings that Mr. Harman had no

medical impairment that would limit his ability to perform any occupation, the

Social Security Administration found Mr. Harman to be disabled, and granted him

SSD benefits on initial application.

      77.    Though Mr. Harman’s claim for disability was strong enough to

overcome the daunting odds for a Social Security claimant and be approved on




                                         21
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 21 of 28
initial application, it simply has not fully addressed the favorable decision and

Social Security evidence.1

              78.            Courts have repeatedly acknowledged that the Social Security

Administration's disability decision should be a "significant factor" in a Court's

consideration of an administrator’s decision to terminate plaintiff's disability

benefits. Glenn, 461 F.3d at 669. See also Calvert v. Firstar Finance, Inc., 409

F.3d 286, 294 (6th Cir. 2005) ("the SSA determination, though certainly not

binding, is far from meaningless"). Even though a favorable decision in a Social

Security disability appeal does not make a claimant automatically entitled to

disability benefits under an ERISA plan: [i]f the plan administrator (1) encourages

the applicant to apply for Social Security disability payments; (2) financially

benefits from the applicant's receipt of Social Security; and then (3) fails to explain

why it is taking a position different from the SSA on the question of disability, the

reviewing court should weigh this in favor of a finding that the administrator’s

decision was arbitrary or capricious. Bennett v. Kemper Nat. Services, Inc., 514

F.3d 547, 554 (6th Cir. 2008). See also DeLisle v. Sun Life Assur. Co. of Canada,

558 F.3d 440, 446 (6th Cir. 2009).

              79.            Here, the plan required that Mr. Harman apply for Social Security

disability benefits. Prudential even retained a company, Reliable Review Services,

                                                            
1
 Historically only 35% of Social Security disability claims are initially approved. (See Social Security Admin., 2011
Disabled Worker Beneficiary Statistics, at www.ssa.gov)

                                                               22
 


            Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 22 of 28
to help ensure that Mr. Harman’s claim was approved.

      80.    However, when Prudential decided to terminate Mr. Harman’s claim,

it no longer was interested in the SSA’s determination and in its denial letters,

Prudential merely stated that it had considered the SSA determination but was not

bound by it. (See Exhibit “Y”).

      81.    As noted in Bennett, the "mere mention of the [Social Security]

decision is not the same as a discussion about why the administrator reached a

different conclusion from the SSA." Bennett, 514 F.3d at 553, n.2.

      82.     The Sixth Circuit has held that it is "totally inconsistent" to require a

claimant to apply for Social Security disability benefits, avail itself of the SSA's

determination and, at the same time, contend that the claimant is not disabled.

Darland v. Fortis Benefits Ins. Co., 317 F.3d 516, (6th Cir. 2003) (partially

overruled on other grounds by Black and Decker Disability Plan v. Nord, 538 U.S.

822, 834, 123 S. Ct. 1965, 155 L. Ed. 2d 1034 (2003)).

      83.    Although an ERISA plan administrator is not bound by an SSA

determination finding of total disability, it is inappropriate for a plan administrator

to discount an SSA award in making benefit determinations, especially when the

claimant was required to apply for SSA benefits. Bennett v. Kemper Nat'l Servs.,

Inc., 514 F.3d 547, 553(6th Cir. 2008). Indeed, "a decision by a plan administrator

to seek and embrace an SSA determination for its own benefit, and then ignore or


                                          23
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 23 of 28
discount it later, casts additional doubt on the adequacy of their evaluation of . . .

[a] claim[.]" Calvert v. Firstar Finance, Inc., 409 F.3d 286, 294-95(6th Cir. 2005).

      84.    The Eleventh Circuit examined the juxtaposition between a

Defendant insurer’s self-interested SSD benefit policy requirements and its failure

to give a SSA decision appropriate weight in its own disability denial

determination under that same policy. Melech v. Life Insurance Co. of N.A., 739

F.3d 663 (11th Cir. 2014). On appeal, the Melech Court described Defendant

LINA’s policy in that case as follows:

      To summarize, the Policy effectively requires all claimants to apply
      for SSDI [Social Security Disability Income] at the outset; if a
      claimant fails to do so, LINA can reduce her benefits under the Policy,
      if any, by the amount of SSDI LINA says she could have gotten. In
      the event that LINA decides to pay a claim, the Policy allows LINA to
      hold the claim open, at least with respect to the total amount LINA
      must pay, until the SSA reaches a final decision. LINA may assist the
      claimant in obtaining SSDI, even going so far as to transfer the
      medical evidence that LINA gathered to LINA's vendor, who then
      presumably transfers it to the SSA. And if the SSA denies the
      claimant's application, LINA can force the claimant to exhaust her
      administrative appeals. All this effort makes perfect sense from
      LINA's perspective because--having decided to pay the claim--every
      dollar the claimant gets from the SSA is one less dollar LINA has to
      pay.

Melech, 739 F.3d at 668. Given these policy provisions and the fact that LINA, at

the time of its denial, did not have the evidence plaintiff presented to the SSA, the

Court held “that LINA had an obligation to consider the evidence presented to

the SSA.” Id. at 666 (emphasis added). The Court went on to state that “in light of


                                         24
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 24 of 28
these openly self-interested efforts, we are troubled by the implication of LINA's

actions in Melech's case, where it ignored her SSDI application and the evidence

generated by the SSA's investigation once it no longer had a financial stake in

the outcome.” Id. at 674 (emphasis added).

      85.     In Mr. Harman’s case, the Plan required him to apply for Social

Security disability benefits and exhaust the highest level of SSA appellate review

in the event such SSD benefits were initially denied.

      86.    Mr. Harman applied for Social Security Disability benefits, as

required by the policy.

      87.    Prudential was given a copy of Mr. Harman’s entire Social Security

claim file, but in its denial letter Prudential failed to adequately explain why it

reached a conclusion contrary to that of the Social Security Administration's

finding of disability.

                             CAUSES OF ACTION

                                 Count One
                  ERISA (Claim for Benefits Owed under Plan)

      88. Plaintiff hereby incorporates by reference each and every fact as if it

was restated herein.

      89. At all times relevant to this action, Mr. Harman was a participant of the

Long-Term Disability Policy No. G-42111-NV (“the Plan”) within the meaning of

29 U.S.C § 1002(7), and was eligible to receive disability benefits under the Plan.
                                         25
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 25 of 28
      90. As more fully described above, the termination and refusal to pay Mr.

Harman benefits under the Plan for Long-Term Disability for the period of at least

on or about November 1, 2016 through the present constitutes a breach of

Defendant’s obligations under the plan and ERISA. The decision to terminate

benefits to Mr. Harman was not reasonable and it was not based on substantial

evidence.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays the Court to enter judgment for Plaintiff and

otherwise enter an Order providing that:

      1.     The applicable standard of review in this case is de novo.

      2.     That the Court may take and review the records of Defendant and any

other evidence that it deems necessary to conduct an adequate de novo review;

      3.     From at least June 22, 2007 through the present, Mr. Harman met the

Plan’s definition of disabled;

      4.     Defendant shall pay Mr. Harman all benefits due for the period from

at least November 1, 2016 through the present in accordance with the policy;

      5.     Defendant shall pay to Plaintiff such prejudgment interest as allowed

by law;

      6.     Defendant shall pay Plaintiff’s costs of litigation and any and all other

reasonable costs and damages permitted by law;


                                           26
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 26 of 28
      7.     Defendant shall pay attorney’s fees for Plaintiff’s counsel;

      8.     Plaintiff shall receive such further relief against Defendant as the

Court deems lawful, just and proper;

      9.     In the alternative, Plaintiff prays the Court to enter an Order

remanding this case to Defendant, as administrator, to reconsider Plaintiff’s appeal,

taking into full consideration the evidence presented to the Social Security

Administration and the Social Security Administration’s decision.

                                Respectfully Submitted,

                                        
                                _/s/ Brian L. Kinsley___________________
                                Brian L. Kinsley, Esq.
                                blkinsley@crumleyroberts.com
                                CRUMLEY ROBERTS, LLP
                                2400 Freeman Mill Road, Ste. 200
                                Greensboro, NC 27406
                                Phone: 336-333-9899
                                Fax: 336-333-9894
                                NC State Bar No. 38683

                                Amanda Stansberry-Johns, Esq.
                                Appearance anticipated
                                ajohns@burkeharvey.com
                                BURKE HARVEY, LLC
                                3535 Grandview Parkway
                                Suite 100
                                Birmingham, Alabama 35243
                                Phone: 205-930-9091
                                Fax: 205-930-9054

                                Attorneys for Plaintiff John F. Harman, III


                                           27
 


     Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 27 of 28
PLEASE SERVE DEFENDANT BY CERTIFIED MAIL AT:

The Prudential Insurance Company of America
100 Mulberry Street
Gateway 3
7th Floor
Newark, NJ 07102-406




                                    28
 


    Case 1:18-cv-00509-NCT-LPA Document 1 Filed 06/18/18 Page 28 of 28
